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                                                                                                                                  United States Bankruptcy Court
                                                                                                                                      District of South Dakota

                                                                     IN RE:                                                                                                                  Case No. 05-30027
                                                                     Si Tanka University                                                                                                     Chapter 11
                                                                                                                           Debtor(s)

                                                                                                   LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS
                                                                     Following is the list of the debtor's creditors holding the 20 largest unsecured claims. The list is prepared in accordance with Rule 1007(d) for filing in this Chapter 11 [or
                                                                     chapter 9] case. The list does not include (1) persons who come within the definition of “insider” set forth in 11 U.S.C. § 101, or (2) secured creditors unless the value of
                                                                     the collateral is such that the unsecured deficiency placed the creditor among the holders of the 20 largest unsecured claims.

                                                                                              (1)                                                       (2)                                   (3)                  (4)                  (5)
                                                                         Name of creditor and complete mailing address           Name, telephone number and complete mailing           Nature of claim      Indicate if claim       Amount of
                                                                                      including zip code                         address, including zip code, of employee, agent         (trade debt,         is contingent,         claim (if
                                                                                                                                  or department of creditor familiar with claim           bank loan,          unliquidated,        secured also
                                                                                                                                              who may be contacted                       government            disputed or        state value of
                                                                                                                                                                                        contract, etc.)     subject to setoff        security)
                                                                     Internal Revnue Service                                     Alice Irvine                                          Trade debt             Disputed
                                                                     115 4th Avenue SE                                           (605) 226-7216 x274                                                                              3,132,588.10
                                                                     Aberdeen, SD 57401
                                                                     Huron University Foundation                                 Office Manager                                                                                      414,000.00
                                                                     333 - 9th Street SW                                         (605) 352-8721
                                                                     Huron, SD 57350-2798
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                                                                     Northwestern Communications Solutions                       Office Manager                                        Trade debt                                    259,135.74
                                                                     124 South 1st Street                                        (800) 245-6977
                                                                     Aberdeen, SD 57401
                                                                     Dakota Phones                                               Office Manager                                        Trade debt                                     70,894.52
                                                                     402 Maple Avenue                                            (605) 343-1319
                                                                     Rapid City, SD 57701
                                                                     Gunderson, Palmer, Goodsell                                 Office Manager                                        Trade debt                                     69,144.40
                                                                     P.O. Box 8045                                               (605) 342-1078
                                                                     Rapid City, SD 57709-8045
                                                                     McLeod USA                                                  Office Manager                                        Trade debt                                     60,134.05
                                                                     P.O. Box 88308                                              (605) 965-9393
                                                                     Sioux Falls, SD 57108
                                                                     US Department Of Education                                  Office Manager                                                                                       58,300.00
                                                                     400 Maryland Avenue SW                                      (800) 872-5327
                                                                     Washington, DC 20202
                                                                     BISYS Plan Services                                         Office Manager                                        Trade debt                                     47,925.21
                                                                     Lockbox 19615                                               (215) 648-8000
                                                                     Newark, NJ 07195-0615
                                                                     Stockman Kast Ryan & Co., LLP                               Office Manager                                        Trade debt                                     45,120.43
                                                                     102 North Cascade, Sutie 450                                (719) 630-1186
                                                                     Colorado Springs, CO 80903
                                                                     City Capital                                                Office Manager                                        Trade debt                                     40,500.76
                                                                     1255 Wrights Lane                                           (800) 736-9033
                                                                     West Chester, PA 19380
                                                                     Fidelity Leasing, Inc.                                      Office Manager                                        Trade debt                                     40,449.75
                                                                     P.O. Box 8500-9805                                          (800) 736-9033
                                                                     Philadelphia, PA 19178-9805
                                                                     Compaq                                                      Office Manager                                        Trade debt                                     38,917.00
                                                                     P.O. Box 277205                                             (800) 752-0900
                                                                     Atlanta, GA 30384-7205
                                                                     Northern State University                                   Office Manager                                        Trade debt                                     34,791.00
                                                                     Department Of Education                                     (605) 626-2550
                                                                     1200 South Jay Street
                                                                     Aberdeen, SD 57401
                                                                     Crossroads Hotel & Convention Center                        Office Manager                                        Trade debt                                     34,004.05
                                                                     P.O. Box 833                                                (605) 352-3204
                                                                     Huron, SD 57350



                                                                     LIST OF CREDITORS HOLDING 20 LARGEST UNSECURED CLAIMS
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                                                                     CRST Sales & Service                Office Manager                 Trade debt                                                                    32,445.14
                                                                     P.O. Box 810                        (605) 964-2700
                                                                     Eagle Butte, SD 57625
                                                                     AAA Travel Agency                   Office Manager                 Trade debt                                                                    26,734.29
                                                                     201 East Sioux                      (605) 224-0422
                                                                     Pierre, SD 57702
                                                                     Lynn, Jackson, Shultz & Lebrun, PC  Dave Nadolski                                                                                                25,000.00
                                                                     P.O. Box 1920                       (605) 332-5999
                                                                     Sioux Falls, SD 57104
                                                                     Skyways Huron Regional Airport      Office Manager                 Trade debt                                                                    20,889.42
                                                                     P.O. Box 124                        (605) 352-9262
                                                                     Huron, SD 57350
                                                                     Citicapital Corp.                   Office Manager                 Trade debt                                                                    14,047.83
                                                                     P.O. Box 8500-9805                  (800) 736-9033
                                                                     Philadelphia, PA 19178-9805
                                                                     SDN Communications                  Office Manager                 Trade debt                                                                    13,950.83
                                                                     2900 West 10th Street               (605) 334-7185
                                                                     Sioux Falls, SD 57104
                                                                                  DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP

                                                                     I, [the president or other officer or an authorized agent of the corporation][or a member or an authorized agent of the partnership] named as the debtor
                                                                     in this case, declare under penalty of perjury that I have read the foregoing list and that it is true and correct to the best of my information and belief.


                                                                     Date: April 9, 2005                            Signature: /s/ Francine Hall
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                                                                                                                                 Francine Hall, University President
                                                                                                                                                                                                                 (Print Name and Title)




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